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[Proposed]
Lead Counsel for Plaintiff and Class

                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

ANTHONY PEPE, Individually and On              No.: 2:18-cv-14091-KM-JBC
Behalf of All Others Similarly Situated,
                                               NOTICE OF NON-OPPOSITION
              Plaintiff,                       TO MOTION OF ANDREW
                                               LOGIE TO APPOINT LEAD
              v.                               PLAINTIFF AND APPROVE
                                               LEAD PLAINTIFF’S
COCRYSTAL PHARMA, INC. F/K/A                   SELECTION OF COUNSEL
BIOZONE PHARMACEUTICALS,
INC., ELLIOT MAZA, GARY                        CLASS ACTION
WILCOX, JEFFREY MECKLER,
GERALD MCGUIRE, JAMES                          MOTION DATE: Dec. 17, 2018
MARTIN, CURTIS DALE, PHILLIP
FROST, BARRY C. HONIG, JOHN
STETSON, MICHAEL BRAUSER,
JOHN O’ROURKE III, MARK
GROUSSMAN, BRIAN KELLER, AND
JOHN H. FORD,

               Defendants.




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      Lead Plaintiff Movant Andrew Logie (“Movant”), by and through his

undersigned counsel, files this Notice of Non-Opposition with respect to his pending

Motion to Appoint Lead Plaintiff and Approve Lead Plaintiff’s Selection of Counsel

(“Motion”) filed on November 19, 2018 as Docket No. 6.

      On November 29, 2018, competing lead plaintiff movant Susan Church filed

a notice of withdrawal of her lead plaintiff motion (Dkt. No. 5).

      Accordingly, Movant’s Motion is the only lead plaintiff motion currently

pending. There is no opposition against Movant’s Motion.

      Thus, Movant respectfully requests that the Court enter the [Proposed] Order

Appointing Lead Plaintiff and Lead Counsel submitted as Docket No. 6-1.

Dated: December 4, 2018                Respectfully submitted,

                                       THE ROSEN LAW FIRM, P.A.

                                       /s/ Laurence M. Rosen
                                       Laurence M. Rosen, Esq.
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                                       [Proposed]
                                       Lead Counsel for Plaintiff and Class




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                          CERTIFICATE OF SERVICE

       I hereby certify that on this 4th day of December 2018, a true and correct copy of
the foregoing document was served by CM/ECF to the parties registered to the Court’s
CM/ECF system.




                                         /s/ Laurence M. Rosen




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